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                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

JOE ULE, individually and as personal              §
representative of the estate of JACK ULE,          §
                                                   §
                  Plaintiff,                       §
                                                   §
v.                                                 §           5:19-CV-01459-JKP-ESC
                                                   §
BEXAR COUNTY and BEXAR COUNTY                      §
HOSPITAL DISTRICT d/b/a UNIVERSITY                 §
HEALTH SYSTEMS;                                    §
                                                   §
                  Defendants.                      §

                                 JOINT ADR STATUS REPORT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       Pursuant to the Scheduling Order entered in this case (docket no. 24) and Local Rule CV-

88(b), the parties hereby jointly file this ADR status report, stating as follows:

1.     Status of settlement negotiations

       Plaintiff has engaged in substantial settlement discussions with Defendant Bexar County
       Hospital District (UHS), but reached an impasse. All parties intend to participate in a
       mediation currently set for Monday, March 29, 2021.

2.     Persons Responsible for Settlement Negotiations

       Leslie Sachanowicz will participate in settlement discussions as the representative of
       Plaintiff Joe Ule. Laura Cavaretta, attorney for UHS and Jeff Jowers, in-house counsel for
       UHS will participate in settlement discussions on behalf of UHS. The Bexar County
       Commissioners Court has full and final settlement authority in this matter on behalf of
       Defendant Bexar County to the extent of any claims asserted against him in his official
       capacity. A representative of Bexar County will attend any facilitative mediation and ADR
       or settlement conference that may be scheduled in this matter together with counsel, Robert
       Green.




Parties’ Joint ADR Status Report
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3.     Identity of ADR provider

       The parties have arranged to mediate this case before Mediator Roger Bresnahan on
       Monday, March 29, 2021.

4.     Whether ADR is appropriate for this matter

       All parties are in agreement that ADR is appropriate for any claims that may remain in this
       matter.

5.     Method of ADR

       Mediation

6.     Method by which ADR provided selected

       The parties have arranged to mediate this case before Mediator Roger Bresnahan on
       Monday, March 29, 2021.

7.     How ADR provider will be compensated

       The parties will split the mediation costs equally.



                                                Respectfully Submitted,


 JOE GONZALES
 Bexar County Criminal District Attorney

   /s/ Robert Green
                                                      /s/ Leslie Sachanowicz
 Robert D. Green
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 Hospital District, d/b/a University Health
 System




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                                CERTIFICATE OF SERVICE

      I do hereby certify that, on the 26nd day of March, 2021, I electronically filed the foregoing
document using the CM/ECF system, which provided electronic service upon all parties.

                                               /s/ Robert Green
                                              ROBERT D. GREEN




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